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      Re: Earthquake in Ecuador




      Thank you very much for your concern about what is happening in our COUNTRY my friend, and I also am
      sorry for what is happening regarding your problem and the arbitration...I would love to have your lawyer
      visit me on Wednesday or Thursday to review the issue with him. Kind regards and see you when you get
      here, Bye.

      Sent from my iPhone

      On 18 Apr 2016, at 5:16 a.m., ilbengoetxea <ilbengoetxea@albacora.es> wrote:


      |
      My dear friend,


      I know from other people who have reached out to you, that you and your family are doing well, which
      reassures me. The information that is reaching us via images is terrifying, my wish is that most of the people
      who are buried can be rescued alive. I have no words to express how sorry I am for what has happened.


      Please know that we are here to help in any way we can, we have ordered the Salica del Ecuador Office to
      deliver boxes of tuna fish so that they can reach all of those who are most in need.


      I take this opportunity to tell you that on April 27/28, I plan to travel to Guayaquil, and we will have the
      opportunity to get together. Also, I would like to inform you that unfortunately, despite the efforts we have
      made with the SRI mediated by the OFFICE OF THE ATTORNEY GENERAL, we are presenting the
      ARBITRATION. It is doubly regrettable that we receive news that the SRI, through the GOVERNMENT? is
      enforcing all of the judgments in the courts against Salica del Ecuador, and thus arrive with the judgments,
      before the arbitration proceeding. We are making all this known to the MINISTRY OF ECONOMY OF
      SPAIN, the AMBASSADOR OF SPAIN IN ECUADOR, etc. What I am telling you is disheartening,
      regrettable, after putting forth so much effort, to have to reach this situation.


      Take care


      Iñaki
      ______________________________________________________________________________________________________________________________________________________________________


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